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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

  UNITED STATES OF AMERICA,                        )
                                                   )
                  Plaintiff,                       )         Criminal No. 1:18-cr-00083-TSE
                                                   )
  v.                                               )         Judge T. S. Ellis, III
                                                   )
  PAUL J. MANAFORT, JR.,                           )
                                                   )
                  Defendant.                       )


                  DEFENDANT PAUL J. MANAFORT, JR.’S NOTICE
                TO THE COURT REGARDING POST-TRIAL MOTIONS

          Defendant Paul J. Manafort, Jr., by and through counsel, hereby notifies the Court

  that he does not intend to file any post-trial motions relating to his trial or to the jury verdict

  returned in this Court on August 21, 2018.

          On September 14, 2018, Mr. Manafort entered a guilty plea in United States v.

  Manafort, 1:17-CR-201 (D.D.C.) (ABJ).                In his plea agreement in that matter, Mr.

  Manafort agreed “not to appeal any trial or pre-trial issue in the Eastern District of Virginia,

  or to challenge in the district court any such issue ... in United States v. Paul J. Manafort,

  Jr., Crim. No. 1:18-cr-83 (TSE).” Accordingly, because he has waived his right to seek

  post-trial relief, he hereby provides the Court with notice of that waiver.

  Dated: September 19, 2018                        Respectfully submitted,

                                                   s/ Kevin M. Downing
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                               CERTIFICATE OF SERVICE

         I hereby certify that on the 19th day of Septmber, 2018, I will electronically file the

  foregoing with the Clerk of Court using the CM/ECF system, which will then send a

  notification of such filing (NEF) to the following:

  Andrew A. Weissman
  Greg D. Andres
  U.S. Department of Justice
  Special Counsel’s Office
  950 Pennsylvania Avenue NW
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                                                s/ Jay R. Nanavati
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